               Case 6:19-cv-00349-ADA Document 6 Filed 06/13/19 Page 1 of 3



                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION


LAKSHMI ARUNACHALAM,                                   §
                  P1aintff                             §
                                                       §
-vs-                                                   §                 W-19-CV-00349-ADA
                                                       §
BNSF RAILWAY COMPANY,                                  §
                  Defendant                            §

     ORDER DENYING PLAINTIFF'S MOTION TO PROCEED IN FORMA PAUPERIS

          Before the Court is Plaintiffs Motion to Proceed In Forma Pauperis. ECF No. 2. Dr.

Lakshmi Arunachalam ("Plaintiff') brings the instant patent infringement case against BNSF

Railway Company ("Defendant") and seeks leave to proceed in forma pauperis. A plaintiff may

proceed in civil cases without the payment of fees or costs if the Court finds that such person is

unable to pay such costs or give security therefor. 42 U.S.C.      §   2000(e)-5(f)(1)(a). In determining

whether to grant leave to proceed in forma pauperis, a court considers an applicant's economic

status. Watson    v.   Ault, 525 F.2d 886, 891 (5th Cir. 1976);   cf   Green   v.   City of Montezuma, 650

F.2d 648, 650 (5th Cir. 1981).

          An affidavit in support of a motion to proceed in forma pauperis is sufficient if it states

that, due to poverty, one cannot afford to pay the costs of legal representation and still provide

for himself and his dependents. See Adkins      v.   E.i DuPont de Nemours       & Co., 335 U.S. 331, 339

(1948). While one need not be absolutely destitute to qualify for in forma pauperis status, such

benefit is allowed only when a movant cannot give such costs and remain able to provide for

himself and his dependents. id.

          In her motion, Plaintiff states that her only income is from Social Security. ECF No. 2 at

1.   Further, she only has $50.00 in cash or in a checking or savings account. Id. at 2. However, the
              Case 6:19-cv-00349-ADA Document 6 Filed 06/13/19 Page 2 of 3



Court notes that it has already denied Plaintiff's Motions to Proceed In Forma Pauperis in two

separate cases filed in this Court. Arunachalam               v.   Exxon Mobile Corp., No. 6:1 9-CV- 171, ECF

No. 7; Arunachalam      v.    Intuit, Inc., No. 6:19-CV-172, ECF No. 7. Further, despite having these

Motions denied, Plaintiff still paid the $400 filing fee. Exxon Mobile Corp., ECF Nos. 14-15;

Intuit, Inc., ECF Nos. 14-15. Additionally, Plaintiff has filed over 100 similar federal actions

across the country. For example, earlier this month, Plaintiff filed two patent infringement

actions in the Texarkana Division of the Eastern District of Texas. See Arunachalam v. Lyft, Inc.,

5:19-CV-19-RWS-CMC; Arunachalam                       v.   Uber Technologies, Inc., 5:19-CV-18-RWS-CMC.

The district court denied her Motions to Proceed In Forma Pauperis in both cases for the same

reasons the Court denies Plaintiff's Motion today.

        Even though Plaintiff resides in Menlo Park, California, she elected to file this case in

Waco, Texas, and has filed an enormous number of other cases across the country, which

indicates that she has resources to travel. Further, the Court notes that Plaintiff's extensive

litigation history indicates that she has recently been able to pay the full filing fee required by

other courts. See, e.g., Arunachalam            v.   Stanford Health Care, et al., Cause No. 5:18-cv-03995-

EJD; see also Arunachalam          v.   Apple, Inc., et at., Cause No. 5:18-cv-01250-EJD. Additionally,

Plaintiff recently informed the Court in a prior case that she has a job walking dogs. Exxon

Mobile Corp., ECF No. 12 at             1.   Considering Plaintiff's extraordinary litigation history and the

information supplied in the instant Motion, the Court finds that Plaintiff is obligated to pay the

filing fee for this action.

        Accordingly, it is ORDERED that Plaintiff's Motion to Proceed In Forma Pauperis is

DENIED. ECF No. 2. It is further ORDERED that by June 27, 2019, Plaintiff shall pay a filing
            Case 6:19-cv-00349-ADA Document 6 Filed 06/13/19 Page 3 of 3



fee of $400.00. Plaintiff is admonished that failure to pay the filing fee as ordered herein may

lead to dismissal of this action.

       SIGNED this 13th day of June 2019.




                                    UNITED STATES DISTRICT JUDGE
